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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
Case No. 12-48303-NHL
ln re:
Chapter 7
Grigory EPSHTEYN
Debtor, ANSWER
X
Alexander LEVIN, Steven MAKS[N, Esq., and
2814-2824 EMMONS ACQUISITION, LLC
Plaintiffs, Complaint No. l-l3-01098-NHL
-against-
Grigory EPSHTEYN,
Defendant.
X

 

Defendant Grigory Epshteyn, as and for his Verifled Answer to the Complaint, of Alexander
Levin, Steven Maksin, Esq., and 2814-2824 Emmons Acquisition, LLC, by the Law Offlces of
Kalavesios & Choudhry, PLLC, his attomeys, respectfully alleges as follows:

PARTIES
l. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraphs l, 2, and 3 of the Complaint and leaves plaintiffs to
their proofs.
2. Neither admits nor denies the allegations contained in Paragraph 4 of the
Complaint and leaves plaintiffs to their proofs, except admits that Debtor-Defendant Grigory;;'

~ '>> .";`\\
Epshteyn is a natural person currently residing at 71 Foxbeach Avenue, Staten lsland, l\;_lg`v(v' York.|_‘. '§{;°

 

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JURISDICTION AND VENUE

3. As to the allegations in Paragraphs 5 and 6 of the Complaint, which contain legal
arguments, characterizations as to the meaning of certain federal statutes and call for
determination of law, they are denied as such and the Debtor respectfully refers all questions of
law to the Court.

FACTUAL BACKGROUND

4. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraphs 7 and 8 of the Complaint and leaves plaintiffs to their
proofs.

5. Neither admits nor denies the allegations contained in Paragraph 9 of the
Complaint and leaves plaintiffs to their proofs,

6. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraph 10 of the Complaint, except admits that a summary
proceeding was commenced against the Debtor, Marina Rozenberg, Karina Dukach and Paradise
Garden, LLC.

7. Denies each and every allegation contained in Paragraph ll of the Complaint.

“The First Part of Tenants’ Scheme_The Nassau Countv Supreme Cgin Action”

8. Denies each and every allegation contained in Paragraph 12 of the Complaint

9. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraphsl3, 14, 15 and 16 Of the Complaint.

10. Denies each and every allegation contained in Paragraph 17 of the Complaint

11. Denies any knowledge or information sufficient to form a belief as to each and

every allegation in Paragraph 18 of the Complaint.

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“The Second Part of Tenants’ Scheme_The Kings County Supreme Court Action”

12. Denies each and every allegation contained in Paragraphs 19 and 20 of the
Complaint except admits that the Debtor and Paradise Garden, LLC, commenced an action in the
Supreme Court, Kings County against Plaintiffs and others.

13. Denies each and every allegation contained in Paragraph 21 of the Complaint.

14. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraphs 22, 23 and 24 of the Complaint.

“The Third Part of Tenants’ Scheme_The Civil CoJurt Action”
15. Denies any knowledge or information sufficient to form a belief as to each and

every allegation contained in Paragraphs 25-41, inclusive, of the Complaint.

16. Admits allegations contained in Paragraph 42 of the Complaint.

17. Denies any knowledge or information sufficient to form a belief as to each and
every allegation contained in Paragraphs 43 and 44 of the Verified Complaint.

“Plaintiffs’ Claims Against Defendant Mhteyn”

18. As to the allegations in Paragraph 45 of the Complaint, which contain legal
arguments and ca11 for determination of law, they are denied as such and the Debtor respectfully
refers all questions of law to the Court.

FIRST CLAIM FOR RELIEF

19. Debtor/Defendant repeats and reiterates each and every denial, admission and

denial of any knowledge or information sufficient to form a belief hereinafter made in response

to Paragraph 46 of the Verified Complaint.

 

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20. As to the allegations in Paragraph 47 of the Complaint, which contain legal
arguments and call for determination of law, they are denied as such and the Debtor respectfully
refers all questions of law to the Court.

21. Denies each and every allegation contained in Paragraphs 48, 49, 50 and 51 of the
Complaint.

FIRST AFFIRMATIVE DEFENSE

22. Plaintiffs fail to state a claim under State or Federal Statutory Law.
SECOND AFFIRMATIVE DEFENSE

23. Plaintiffs fail to state a claim for which relief may be sought or granted.
THIRD AFFIRMATIVE DEFENSE

24. By their own actions and otherwise the Plaintiffs herein are not entitled to
equitable relief.

FOURTH AFFIRMATIVE DEFENSE

25. Any claims and /or objections of the Plaintiffs were not timely asserted and are
time-barred.

FIFTH AFFIRMATIVE DEFENSE

26. Any damages allegedly sustained by Plaintiffs were a result of actions by third
parties over whom Debtor/Defendant had no dominion or control.

SIXTH AFFIRMATIVE DEFENSE

27. Debtor/Defendant asserts, on information and belief, that Plaintiffs’ claims were

brought in bad faith and for the purpose of harassment and Debtor/Defendant requests an award

of attorney fees, costs and sanctions.

 

 

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PRAYER FOR RELIEF
WHEREFORE, Debtor/Defendant by and through his attomeys, Law Offices of
Kalavesios & Choudhry, PLLC hereby prays that the Plaintiffs’ Complaint be dismissed in its
entirety, that the liability of the Debtor/defendant be discharged, with costs and attorney fees,
and for any other and further relief that this Court may deem proper and equitable.

Dated: April 7, 2013
Brooklyn, New York

LAW OFFICES OF AVESlOS & CHOUDHRY, PLLC

 

Ted Kalav€%ios

Attomeys for Defendant/Debtor
Grigory Epshteyn

2845 86th street

Brooklyn, New York 11223
(718) 766-5297

TO: ALSTON & BIRD LLP
Attomey for Plaintiff
90 Park Avenue
New York, NY 10016

 

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Plaintiffs, Complaint No. 1-13-01098-NHL
-against-
Grigory EPSHTEYN,
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X

 

The undersigned, an attorney duly licensed to practice law under the laws of the State of New York,
hereby affirms as true under the penalties of perjury, as follows:

1. On April 8, 2013, I served the within Answer, by mailing a copy on the following party,
at the address designated for that purpose.

Alston & Bird, LLP.
Attomeys for Plaintiffs

90 Park Avenue

New York, New York 10016

Dated: Brooklyn, New York
April 8, 2013

Kiren Choudhry, Esq.

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

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Plaintiffs, Complaint No. l -13-01098-NHL
-against-
Grigory EPSHTEYN,
Defendant.
X
ANSWER

 

LAW OFFICES OF KALAVESIOS AND CHOUDHRY, PLLC.
Attorneys for Respondent

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